     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 1 of 10




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8                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
9
10     AMA MULTIMEDIA, LLC, a Nevada                  Case No.: 2:15-cv-01673-JCM-GWF
       limited liability company,
11                                                    REPLY IN SUPPORT OF MOTION TO
                    Plaintiff,                        COMPEL ARBITRATION
12
13     v.

14     BORJAN SOLUTIONS, S.L. d/b/a
15     SERVIPORNO, a Spanish company;
       and BORJAN MERA URRESTARAZU,
16     an individual,
17                  Defendants.
18
19          Plaintiff AMA Multimedia LLC (“AMA”) hereby files its Reply in Support of Its
20    Motion to Compel Arbitration (Doc. No. 10).
21                        MEMORANDUM OF POINTS AND AUTHORITIES
22    1.0   INTRODUCTION
23          As established in Plaintiff’s Motion to Compel Arbitration and Defendants’
24    response thereto (Doc. No. 14), the parties at this point obviously wish to have
25    this matter proceed to arbitration, as provided for in the settlement agreement.
26    The only outstanding questions are what the Court should do to ensure that
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                                                  -1-
                            Reply in Support of Motion to Compel Arbitration
                                        2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 2 of 10




1     arbitration actually occurs, and what should happen to this case during the
2     pendency of arbitration. The Court should require Defendants not to take any
3     steps to intentionally frustrate arbitration, as they did when AMA initially filed its
4     arbitration complaint with ADR Services, Inc.          Defendants are attempting to
5     game the system by refusing to arbitrate and then calling foul when AMA
6     attempts to avail itself of the only legal recourse left to it. The Court should not
7     be a pawn in this gamesmanship, and should order that this matter proceed to
8     arbitration using either ADR Services, Inc., one of the arbitrators originally
9     suggested by AMA, or one of the alternative arbitrators discussed in this Reply.
10    2.0   FACTUAL BACKGROUND
11          As explained in greater detail in AMA’s Motion to Compel Arbitration,
12    AMA attempted to go through the channels of negotiation, mediation, and
13    arbitration as provided for in the settlement agreement. (See Doc. No. 10 at 3-
14    7.) The parties’ informal settlement negotiations went nowhere, and Defendants
15    failed to participate in mediation in good faith by declining to provide a
16    mediation statement or appear in person.            (See id. at 4.)     Then Defendants
17    refused to consent to arbitration conducted by the eminently qualified Judge
18    Phillip Pro (among others), falsely claiming that he was unqualified to arbitrate
19    an intellectual property dispute. (See Doc. Nos. 10-3 and 10-4.) When AMA
20    attempted     to   initiate   arbitration   despite    Defendants’      unwillingness   to
21    cooperate, Defendants were cagily uncommunicative with AMA’s chosen
22    arbitration service and violated ADR Services, Inc.’s rules by filing a motion to
23    dismiss before any arbitration had formally begun. (See Doc. No. 10 at 6-7; see
24    also Doc. No. 10-6 at ¶¶ 4, 7-10, 14; and see ADR Services Arbitration Rules,
25    attached as Exhibit 1, at Rule 5(A)(2).) These actions convinced ADR Services
26    that Defendants would not consent to arbitration with them, and declined to
27    take the case. (See Doc. No. 10-6 at ¶ 14.)
                                                 -2-
                           Reply in Support of Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 3 of 10




1     3.0    LEGAL ANALYSIS
2            The parties agree that this matter should proceed to arbitration.         The
3     Court must only decide who should conduct the arbitration and what should
4     happen to this case during the pendency of arbitration.
5            3.1    ADR Services, Inc., or One of the Arbitrators Originally Suggested by
                    AMA, Should be Appointed as the Arbitration Provider or Arbitrator
6
             Pursuant to the Federal Arbitration Act, 9 U.S.C. § 4 et seq. and the
7
      Convention on the Recognition and Enforcement of Foreign Arbitral Awards,
8
      Article II(3), per 9 U.S.C. ¶ § 206, this Court is empowered to appoint an arbitrator
9
      where the agreement is silent. See 9 U.S.C. §§ 5 & 206; see also Gar Energy &
10
      Assocs. v. Ivanhoe Energy Inc., 2011 U.S. Dist. LEXIS 148424, *29 (E.D. Cal. Dec. 23,
11
      2011) (recognizing that “under 9 USCS § 206, the Court has the authority to
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      select an arbitrator for the parties”). Defendants agree with this position. (See
13
      Doc. No. 14 a 5-6.) But they do object for the first time as to the propriety of ADR
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      Services, Inc. as the arbitration provider on the ground that it does not list
15
      arbitrators with particular qualifications in Internet and intellectual property law.
16
      (See id. at 6.)
17
             This objection rings hollow, however, as Defendants already objected to
18
      AMA’s suggestion of several arbitrators with unimpeachable qualifications in
19
      these areas. Philip M. Pro is a retired federal judge who oversaw dozens of
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      intellectual property cases while on the bench, including cybersquatting and
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                           Reply in Support of Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 4 of 10




1     copyright infringement disputes.5 And Defendants’ objection to him? That he
2     did not have the “necessary IP background to properly understand this dispute.”
3     (Doc. No. 10-3.)       As AMA informed Defendants over seven months ago, “to
4     suggest that he is unqualified is not a well-founded objection.” (Id.)
5            Defendants also rejected AMA’s suggestion of Joseph Bongiovi and Ara
6     Shirinian as mediators out of hand despite Mr. Bongiovi’s firm explicitly stating
7     experience in intellectual property mediations, early neutral evaluations, and
8     arbitrations. (See “Practice Areas/Fees” page of Bongiovi Dispute Resolutions
9     LLC web site, attached as Exhibit 2.)6 Defendants objected to them because
10    they insisted that any arbitration would have to be conducted by “a nationally
11    recognized arbitration forum.” (Doc. 10-4; see also Doc. No. 14 at 6.) This is not
12    a requirement under the agreement, and frankly makes no sense.                                 What
13    difference does it make if an arbitrator is “recognized” in Maine or Alaska?
14    5 A   sampling of the Hon. Judge Pro’s intellectual property decisions is as follows: Ricks v.
15    BMEzine.com, LLC, 727 F. Supp. 2d 936 (D. Nev. 2010) (deciding cross motions for summary
      judgment in cybersquatting case); Fifty-Six Hope Rd. Music, Ltd. v. A.V.E.L.A., Inc., 688 F. Supp. 2d
16    1148 (D. Nev. 2010) (deciding cross motions for summary judgment in case involving Lanham Act
      and right of publicity claims); Menalco v. Buchan, 2010 U.S. Dist. LEXIS 8042 (D. Nev. Feb. 1, 2010)
17    (deciding cross motions for summary judgment in case involving trade secret claims); Tiffany
      Design, Inc. v. Reno-Tahoe Specialty, Inc., 55 F. Supp. 2d 1113 (D. Nev. 1999) (deciding summary
18    judgment motion in copyright infringement case); Halo Elecs., Inc. v Pulse Elecs., Inc., 2013 U.S.
      Dist. LEXIS 84672 (D. Nev. June 17, 2013) (deciding motion for permanent injunction in patent
19    infringement case); Righthaven, LLC v. Hoehn, 792 F. Supp. 2d 1138 (D. Nev. 2011) (deciding
      motion for summary judgment in copyright infringement case); Germaine Music v. Universal
20    Songs of Polygram, 275 F. Supp. 2d 1288 (D. Nev. 2003) (deciding cross motions for summary
      judgment in copyright infringement case); Montgomery v. e Treppid Techs, LLC, 2007 U.S. Dist.
21    LEXIS 20208 (D. Nev. Mar. 20, 2007) (deciding motion to dismiss in copyright infringement case);
      V.C.X., Ltd. v. Burge, 2006 U.S. Dist. LEXIS 88050 (D. Nev. Nov. 30, 2006) (deciding motion to dismiss
22    in case involving trade secret claims); Brady Indus., LLC v. Waxie’s Enters., 2014 U.S. Dist. LEXIS
      9714 (D. Nev. Jan. 21, 2014) (deciding cross motions for summary judgment in copyright
23    infringement case); Stewart v. Warner Bros. Entm’t, 2013 U.S. Dist. LEXIS 6636 (D. Nev. Jan. 15,
      2013) (adopting magistrate’s recommendations to dismiss trademark and copyright
24    infringement claims); Symbol Techs., Inc. v. Lemelson Med., Educ. & Research Found., L.P., 301 F.
      Supp. 2d 1147 (D. Nev. 2004) (deciding declaratory judgment case concerning validity of
25    patents); Herb Reed Enters. v. Monroe Powell’s Platters, LLC, 842 F. Supp. 2 1282 (D. Nev. 2012)
      (deciding motion for preliminary injunction in trademark infringement case); Wintice Group, Inc.
26    v. Longleg, 2010 U.S. Dist. LEXIS 92261 (D. Nev. Sept. 3, 2010) (deciding summary judgment
      motion and motion for permanent injunction in Lanham Act case).
27    6 Available at: http://bongiovi.com/practice-areasfees/ (last accessed Feb. 1, 2016).


                                                     -4-
                               Reply in Support of Motion to Compel Arbitration
                                           2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 5 of 10




1     What is “nationally recognized?” Does it just mean that the opposing counsel
2     has heard of the particular arbitrator? If “nationally recognized” has a definition
3     that we can even nail down, Bongiovi and Shirinian both fit the bill. They are
4     both members of the National Academy of Distinguished Neutrals (“NADN”),
5     which is “nationally recognized.” (See Ara Shirinian profile on NADN web site,
6     attached as Exhibit 3; 7 see also Joseph Bongiovi profile on NADN web site,
7     attached as Exhibit 4.8)
8            AMA is not insistent that ADR Services should be the provider (in fact,
9     Bongiovi seems a better fit), but ADR Services, Inc. qualifies as a “nationally
10    recognized” arbitration provider.            See Nat’l Network of Accountants Inv.
11    Advisors, Inc. v. Gray, 693 F. Supp. 2d 200, 201 (E.D.N.Y. 2010). And contrary to
12    Defendants’ assertion, there are arbitrators with this service located in Nevada
13    who have intellectual property expertise. The Hon. Enrique Romero (Ret.) is listed
14    as an arbitrator on the Service’s Nevada mediation and arbitration panel. (See
15    ADR Service Services, Inc. list of arbitrators on Nevada Mediation & Arbitration
16    Panel, attached as Exhibit 5.)9 His curriculum vitae lists him as having experience
17    with intellectual property disputes.         (See curriculum vitae of Enrique Romero,
18    attached as Exhibit 6.)10
19           And beyond this, Defendants appeared before ADR Services in the
20    arbitration proceeding AMA attempted to initiate. While Defendants made a
21    number of objections in their motion to dismiss that proceeding, they did not
22    object to the selection of ADR Services itself. (See Doc. No. 10-8.) They did not
23    file an objection pursuant to ADR Services Rule 11 that might have brought the
24
      7 Available at: http://www.nadn.org/PDF/Ara-Shirinian.pdf (last accessed Feb. 1, 2016).

25    8 Available at: http://www.nadn.org/PDF/Joe-Bongiovi.pdf (last accessed Feb. 1, 2016).
      9 Available at: http://www.adrservices.org/pdf/JAMP%20(Vegas)%208.07.pdf (last accessed Feb.
26    1, 2016).
      10 Available at: http://www.adrservices.org/pdf/Romero,%20Enrique.pdf (last accessed Feb. 1,
27    2016).
                                                    -5-
                              Reply in Support of Motion to Compel Arbitration
                                          2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 6 of 10




1     question as to appointment of an arbitrator before the Court. (See Doc. No. 10-
2     7 at 5.) They did not reserve an objection to ADR Services in the course of their
3     participation. Contrast Nagrampa v. MailCoups, Inc., 469 F.3d 1257, 1277-1278
4     (9th Cir. 2006). Their current objections to ADR Services, Inc. as an arbitration
5     provider are thus too little, too late; they have waived this argument by failing to
6     raise it when they participated in the earlier arbitration.
7             Alternatively, if the Court does not feel that any of these arbitrators or
8     providers are appropriate, AMA suggests that the Court refer this dispute to the
9     Independent Film & Television Alliance (“IFTA”) Panel of Arbitrators. (See IFTA
10    web site page for IFTA Panel of Arbitrators, attached as Exhibit 7.) 11 Their
11    provider in Las Vegas is Anat Levy, Esq. (See IFTA web site profile for Anat Levy,
12    attached as Exhibit 8.)12 Mr. Levy is highly qualified in intellectual property law,
13    with a particular understanding of filmed audiovisual entertainment. (See id.) In
14    fact, Ms. Levy appears to be the most eminently qualified arbitrator mentioned
15    in this entire case, and Plaintiff would gladly accept her appointment to this
16    matter.
17            AMA additionally requests an order from this Court that Defendants
18    consent to the jurisdiction of the selected arbitrator or arbitration provider and
19    not take steps to frustrate the arbitration process.                       This is precisely what
20    Defendants did when AMA attempted to arbitrate this matter with ADR Services,
21    and the Court should not allow Defendants to insist on arbitration while a lawsuit
22    is pending, then asserting that arbitration is inappropriate when the matter is no
23    longer before the Court.
24
25
26
      11 Available at: http://www.ifta-online.org/ifta-panel-arbitrators (last visited Feb. 1, 2016).
27    12 Available at: http://www.ifta-online.org/sites/default/files/Levy_0.pdf (last visited Feb. 1, 2016).


                                                      -6-
                                Reply in Support of Motion to Compel Arbitration
                                            2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 7 of 10




1             3.2        The Court Should Not Appoint JAMS or AAA as the Arbitration
2                        Provider, Generally for This Dispute
3             Defendants content that the Court should appoint JAMS or the American
4     Arbitration Association as the arbitration provider for the current dispute. (See
5     Doc. No. 14 at 6.) With the exception of Philip Pro, neither JAMS nor AAA are
6     appropriate services to arbitrate this dispute.              First, although AAA is a large
7     entity, it has no actual presence in Nevada. (See AAA web site “Contact Us”
8     page, attached as Exhibit 9.)14 Moreover, as Defendants acknowledge, AAA
9     does not publicly disclose who the potential arbitrators are; without this
10    information, there is no evidence before the Court, only speculation, that AAA
11    might provide arbitrators with the required expertise. Further, AAA’s rates and
12    billings are notoriously high, and AMA should not be required to pay an
13    excessive amount to vindicate its rights just because Defendants want it to. (See
14    “The Costs of Arbitration,” PUBLIC CITIZEN (April 2002), attached as Exhibit 10, at 40-
15    51 (and these rates have only increased since 2002.))15 Unfortunately, as with
16    the identity of the arbitrators, AAA does not readily make available the rates of
17    its arbitrators. In contrast, ADR Services publishes its rates in an easily accessible
18    location. (See ADR Services, Inc. list of Nevada arbitrators with rates, attached
19    as Exhibit 11.)16
20            Second, and similarly, the rates of JAMS arbitrators are not easily
21    discoverable and are also notoriously high. Further, rather than keep AMA’s
22    counsel’s use of an expletive regarding a particular JAMS member private,
23
      14 Available at:

24    https://www.adr.org/aaa/faces/s/contact/us?state=NV&name=Nevada&_afrLoop=6938378168
      6768&_afrWindowMode=0&_afrWindowId=kv69ifzjw_248#%40%3F_afrWindowId%3Dkv69ifzjw_248
25    %26_afrLoop%3D69383781686768%26state%3DNV%26name%3DNevada%26_afrWindowMode%3
      D0%26_adf.ctrl-state%3Dkv69ifzjw_292 (last visited Feb. 1, 2016)
26    15 Available at: https://www.citizen.org/documents/ACF110A.PDF (last visited Feb. 1, 2016).
      16 Available     at: http://www.adrservices.org/pdf/JAMP%20(Vegas)%20fees%208.07.pdf (last
27    visited Feb. 1, 2016).
                                                       -7-
                                 Reply in Support of Motion to Compel Arbitration
                                             2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 8 of 10




1     which could easily have been done through redaction, Defendants have
2     chosen to poison the well, scattering it throughout the docket. (See Doc. No. 14
3     at 7 n.1; Doc. No. 14-4; Doc. No. 7 at 7; Doc. No. 7-1.) It is reasonable to expect
4     any JAMS arbitrator and staff might review the filings in this matter or, more likely,
5     that Defendants would introduce them to JAMS. This is likely to lead to bias by
6     any JAMS arbitrator, even on a subconscious basis.17 Thus, to the extent JAMS
7     might previously have been appropriate as a provider, it no longer is.
8     Defendants’ insistence on a JAMS arbitrator while simultaneously ensuring that
9     almost any such arbitrator would be biased against AMA is rank gamesmanship
10    – and quite childish and amateur gamesmanship at that.
11            3.3     This Matter Should Be Stayed Pending Arbitration
12            While this matter is arbitrated, this case should be stayed pursuant to
13    9 U.S.C. § 3; accord Morris v. Morgan Stanley & Co., 942 F.2d 648, 653 (9th Cir.
14    1991). Although the Court may dismiss the matter once there is a referral to
15    arbitration, such a determination is discretionary.                   See Sparling v. Hoffman
16    Constr. Co., 864 F.2d 635, 638 (9th Cir. 1988); see also Kam-Ko Bio-Pharm Trading
17    Co., Ltd. v. Mayne Pharma Inc., 560 F.3d 935, 940 (9th Cir. 2009).18 Defendants’
18    contention that the Court must dismiss this case is simply incorrect, and none of
19    the cases they cite support their argument as to the mandatory nature of
20    dismissal in the face of arbitration. To the contrary, Courts in this Circuit agree
21    that a stay is mandatory. See SEIU, Local 707 v. Connex-ATC, 2006 U.S. Dist. LEXIS
22    78606, *6 (N.D. Cal. Oct. 18, 2006) (stating that “pursuant to § 3 of the FAA, the
23    court is required to stay, not dismiss, the action pending arbitration”) (citing
24
      17 AMA is sufficiently familiar with the Hon. Judge Pro (Ret.) to know that this fact will not color his

25    perception of any party to an arbitration proceeding. It cannot say the same for any other
      JAMS arbitrator.
26    18 Plaintiff recognizes the Ninth Circuit precedent that a stay is discretionary, but otherwise refers

      this Court to the recent Second Circuit decision discussing the mandatory nature of the stay.
27    See Katz v. Cellco P'ship, 794 F.3d 341 (2d Cir. 2015).
                                                     -8-
                               Reply in Support of Motion to Compel Arbitration
                                           2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 9 of 10




1     Morris v. Morgan Stanley & Co., 942 F.2d at 653-654.) More recently, the Second
2     Circuit confirmed the mandatory nature of the stay. Katz v. Cellco P'ship, 794
3     F.3d 341 (2d Cir. 2015).
4           A stay is proper, given Defendants’ failure to properly arbitrate previously
5     and their efforts to take actions to divest courts of jurisdiction. Undoubtedly,
6     Plaintiff will need to seek confirmation of the award, and the retention of
7     jurisdiction suits those purposes. There is also a strong chance that, if arbitration
8     does not fully resolve the matter and AMA is forced to bring this dispute to court
9     once more, a dismissal of the case would impose the additional burden of
10    requiring AMA to go through the long and costly process of serving Defendants
11    via the Convention on the Service Abroad of Judicial and Extrajudicial
12    Documents in Civil or Commercial Matters (the “Hague Service Convention”) a
13    second time. Defendants, for their part, offer no argument as to why dismissal,
14    rather than a stay, is appropriate, feigning unawareness that a stay is the norm.
15    4.0   CONCLUSION
16          The parties agree that this matter should proceed to arbitration.          The
17    Court should recognize, however, that Defendants are playing games by
18    refusing to arbitrate this dispute, then complaining that the dispute was not
19    arbitrated when the matter is brought to court. The Court should order that this
20    matter proceed to arbitration conducted by one of the arbitrators mentioned in
21    this Reply, order that Defendants not attempt to frustrate such arbitration, and
22    stay this case during the pendency of such arbitration.
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                           Reply in Support of Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 17 Filed 02/01/16 Page 10 of 10




       Dated this 1st day of February, 2016.
1
                                               Respectfully Submitted,
2
                                               /s/ Marc J. Randazza
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9
10
11                                                        Case No. 2:15-cv-01673-JCM-GWF

12                                  CERTIFICATE OF SERVICE

13           I HEREBY CERTIFY that on February 1, 2016, I electronically filed the

14     foregoing document with the Clerk of the Court using CM/ECF. I further certify

15     that a true and correct copy of the foregoing document being served via

16     transmission of Notices of Electronic Filing generated by CM/ECF.

17
                                               Respectfully Submitted,
18
19
                                               Employee,
20                                             Randazza Legal Group, PLLC

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                           Reply in Support of Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
